    Case 1:06-cv-00198-RMU           Document 36        Filed 07/31/2007       Page 1 of 10



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
                                   CIVIL DIVISION
______________________________________
ROLLIN AMORE, et al.
                        Plaintiff,
                                                  Civil No.: 1:06-cv-00198 (RMU)
                  v.

ACCOR SA, et al.
                        Defendants.
______________________________________

     PLAINTIFF’S REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN
    SUPPORT OF ITS MOTION FOR LEAVE TO AMEND THE FIRST AMENDED
                            COMPLAINT

       Plaintiff’s motion to amend the First Amended Complaint (FAC) is not futile because the

Proposed Second Amended Complaint states a valid claim against DC Sofitel LLC (“DC

Sofitel”) and could survive a motion to dismiss.       Nor would granting the motion unduly

prejudice the Defendants as that term is understood and applied by the D.C. Circuit. This Court

should grant Plaintiff’s Motion for Leave to Amend, adopt the Proposed Second Amended

Complaint, and allow this case to be decided on the merits rather than a mere technicality.

                                       I.      ARGUMENT

   A. Plaintiff’s Proposed Second Amended Complaint States a Valid Cause of Action
      Against DC Sofitel
           1. The Proposed Second Amended Complaint Alleges Sufficient Facts to
              Demonstrate Plaintiff’s Alter Ego Theory

       A motion to amend the complaint is not futile if the proposed complaint can withstand a

motion to dismiss. See James Madison Ltd. v. Ludgwig, 82 F.3d 1085, 1099 (D.C. Cir. 1996). In

deciding a motion to dismiss, this Court must assume the facts alleged in the complaint to be true

and also must grant the plaintiff all reasonable inferences. See Gilvin v. Fire, 259 F.3d 749, 756

(D.C. Cir. 2001). The complaint will survive a motion to dismiss when, after accepting the
     Case 1:06-cv-00198-RMU           Document 36        Filed 07/31/2007      Page 2 of 10



allegations as true and drawing all inferences, the complaint is plausible on its face. See Bell

Atlantic Corp. v. Twombly, 127 S. Ct. 1955 (2007).

        To state a valid claim on the basis of alter ego, the Plaintiff must demonstrate a unity of

interest and ownership between Accor SA and DC Sofitel such that their separate personalities

do not exist and treating Accor SA’s acts separately will produce an inequitable result. See

Labadie Coal Co. v. Black, 672 F.2d 92, 96 (D.C. Cir. 1982). The facts alleged in the Proposed

Second Amended Complaint and the evidence discussed below demonstrate the requisite unity of

interest and raise a plausible claim on their face. (See FAC, ¶¶ 5-9). Failure to treat Accor SA

and DC Sofitel as alter egos would create an inequitable result because Accor SA has been

dismissed from the case and the Plaintiff cannot bring this (or any other) claim in any other

jurisdiction.

        Contrary to Defendants’s assertion, Plaintiff’s evidence of the alter ego relationship

between Accor SA and DC Sofitel extends well beyond the facts alleged in the FAC and a single

press release. (See Def. Opp. Br. at 5). For example, the Defendants themselves produced

documents demonstrating that in January 2003 DC Sofitel was a wholly owned subsidiary of

Accor SA. (See Ex. A). Although the Defendants seek to establish the independence of DC

Sofitel by listing the string of holding companies which own it, ending with a seemingly

unrelated entity named IBS SA, the Defendants conspicuously fail to mention that IBS SA itself

is 100 per cent owned by Accor SA. (Compare Def. Opp. Br. at 5 with Ex. A).

        In addition, Accor SA sets the financial guidelines for the Accor Group, including the DC

Sofitel, and “carefully target[s] our capital spending programs.” (See Ex. B, Declaration of

Christopher W. Hellmich (July 31, 2007), at ¶ 2). Accor SA also implemented cost cutting

programs in 2002 which led to Accor SA negotiating global procurement contracts. (See id. at ¶




                                                 2
       Case 1:06-cv-00198-RMU            Document 36       Filed 07/31/2007    Page 3 of 10



3). Accor SA also controls the marketing decisions for the Accor Group, and by inclusion DC

Sofitel. Thus, “Accor SA implemented a Group wide policy in 2002 to increase the awareness of

the Accor brand ‘by closely linking the corporate and hotel chain brands and by including the

Accor Hotels and Accor Service logos in all commercial media.’” (Id. at ¶ 5). In 2002 Accor SA

also reorganized its sales and marketing teams throughout the group by increasing centralization;

adding chain-wide hotel packages; and introducing cross-selling programs. (See id. at ¶ 6).

Accor SA also has implemented technology services company wide, including a centralized

booking and management system as well as a centralized reservation system. (See id. at ¶¶ 7-8).

Accor SA also has a Group wide management system and intranet that allows hotels to control

budgets and also interface with Accor databases. (See id. at ¶ 9). Accor SA also provides

training programs to employees worldwide, some of whom travel to France to attend the

programs. (See id. at ¶ 10). There also exists a worldwide environmental policy, which includes

an Accor SA created “Hotel Environmental Charter” which was posted in more than 1,200 U.S.

hotels in 2003. (See id. at ¶¶ 12-13).

         Nor have the connections between Accor SA and DC Sofitel diminished since 2002.

Accor SA’s promotion of the Sofitel “brand” is particularly telling. Accor SA’s website states

that      “Sofitel    is     the         premium       hotel   brand     of      Accor.”      (See

http://www.accor.com/gb/groupe/activites/hotellerie/marques/sofitel.asp, last visited July 27,

2007). The website also states that “[t]o establish a top-tier position in the highly competitive

deluxe hotel industry, Accor works with leading specialists, from world-renowned architects and

top interior designers, to award-winning chefs.” (Id.) (emphasis added).         Additionally, the

website refers to the 195 Sofitel hotels as part of the Accor “network.”                      (See

http://www.accor.com/gb/groupe/activites/hotellerie/chiffres/chiffres_hotellerie.asp#, last visited




                                                   3
     Case 1:06-cv-00198-RMU           Document 36         Filed 07/31/2007       Page 4 of 10



July 27, 2007). It also is possible to apply for jobs at Sofitel hotels worldwide, all from the

Accor website. (See http://jobs.accor.com/ww/Search.asp?IdLng=2&IdWS=0, last visited July

27, 2007). It is also possible to make reservations at the Sofitel in Washington, DC directly from

the Accor website.       (See http://www.accorhotels.com/gb/reservation/liste_hotels.shtml, last

visited July 27, 2007). Accor SA stated the relationship between the company and its brands

best in its 2002 Annual Report: “Accor Hotels, which consolidates our hotel brands, offers

customers a one-click portal into the Accor universe. It is expressed most effectively through

our accorhotels.com website.” (See Hellmich Declaration at ¶ 16 (July 24, 2007), submitted as

Ex. A to Plaintiff’s Opposition to Defendants’ Motion to Dismiss; see also id. at ¶¶ 17 - 18).

       Importantly, the alter ego analysis is based on the totality of the circumstances – not each

and every factor must be present to find that DC Sofitel is the alter ego of Accor SA. See

Labadie, 672 F.2d at 97 (“It is clearly not necessary that all of these factors be present in a given

case to justify piercing the veil.”). In addition, the facts described above represent only those

that Plaintiff has been able to ascertain through its limited ability to research the relationships

between DC Sofitel, Accor NA, and Accor SA.             At this stage of this litigation, allowing

Defendants’ self-serving and disingenuous affidavit to establish the lack of a relationship

between DC Sofitel and Accor SA would be prejudicial to Plaintiff. Plaintiff has established that

DC Sofitel is 100% owned by Accor SA. This fact alone casts aspersions on Defendants’

evidence and demonstrates that it is too early in this litigation to find that an alter ego or mere

department relationship does not exist between the two entities. Plainly, Plaintiff has alleged

sufficient facts based on Accor SA’s own documents to warrant the denial of Defendants’

motions and allow Plaintiff to commence discovery.




                                                 4
        Case 1:06-cv-00198-RMU                Document 36            Filed 07/31/2007          Page 5 of 10



           Moreover, as fully argued in Plaintiff’s Opposition to Defendants’ Motion to Dismiss, the

Defendants have not provided any evidence of the relationship between DC Sofitel, Accor NA,

and Accor SA in 2002. Instead, Defendants rely on affidavits from 2006 purporting to assess the

relationship between the entities as of then, not when the fire occurred in 2002. Plaintiff, on the

other hand, has offered evidence demonstrating this relationship at the time of the train fire. This

evidence cannot be trumped by evidence of corporate interplay four years later. See McConkey

v. Medical Corp., 144 F.Supp.2d 958, 962 (E.D.Tenn. 2000). Accord American Protein Corp. v.

AB Volvo, 844 F.2d 56, 60 (2nd Cir. 1988). This is particularly true since the Plaintiff has

proffered evidence that controverts the extent of the 2006 relationship as well.

           Finally, because the Plaintiff has stated a valid claim based on alter ego, it does not

matter whether DC Sofitel was responsible for the horrific fire. As the alter ego of Accor SA,

DC Sofitel may be held liable for Accor SA’s negligent conduct. See Pacific Development Inc. v.

United States, 1979 WL 1283, *2, (D.D.C 1979) (“‘Reverse’ piercing the corporate veil . . . is

clearly permissible where justice so requires.”).

               2. The Procedural Grounds on Which Accor SA Was Dismissed Do Not Apply to Its
                  Alter Ego, Accor SA

           Defendants next advance the novel – and unsupportable1 – proposition that DC Sofitel

can piggy back on the forum non conveniens dismissal of Accor SA. This argument does not

withstand scrutiny, however. First, the alter ego doctrine typically is considered remedial rather

than defensive in nature. See e.g., Wu v. Tseng, 2007 WL 201087, *8 (E.D.Va. 2007) (rejecting

1
    As one court has noted:
           we are impelled to remark the obvious: it would be strange if an equitable doctrine could
           be construed to allow a party, on one hand, to resist the characterization that he is a
           corporation's alter ego, and, on the second hand, to allow him simultaneously to use that
           characterization as a device to sidetrack the characterizer's suit.
McCarthy v. Azure, 22 F.3d 351, 363 (1st Cir. 1994).




                                                           5
     Case 1:06-cv-00198-RMU           Document 36         Filed 07/31/2007       Page 6 of 10



the Defendants’ motion to dismiss “[b]ecause the alter ego doctrine may not be used defensively

by Defendant Tseng to avoid liability”); see also 1 Fletcher Cyc. Corp. § 41.10 (2006). Second,

DC Sofitel was not a party to the prior litigation, and a forum non conveniens determination is

not a decision on the merits. See e.g., In re Minister Papandreou, 139 F.3d 247, 255 (D.C. Cir.

1998) (referring to forum non conveniens as a “non-merits ground[ ]” of dismissal). Indeed,

rather than a bar to new litigation, a forum non conveniens dismissal is actually a mandate to the

Plaintiff to re-file the lawsuit in a more convenient forum. There was nothing about the prior

litigation that held the District to be an inconvenient forum for a case against DC Sofitel, a

corporation located and doing business in the District. Thus that determination has no bearing on

whether a suit against DC Sofitel in the District is appropriate.

       The illogic of Defendants’ theory can also be seen by applying it to the analogous

situation of personal jurisdiction. In that situation, if the Defendants’ theory were correct, a

Plaintiff could not use a subsidiary’s contacts with a forum to obtain alter ego personal

jurisdiction over a parent company. After all, if the parent’s contacts with the forum are

insufficient to support jurisdiction then the alter ego subsidiary – using the same defense

available to the parent – should not be subject to personal jurisdiction either. Yet a subsidiary’s

contacts with the forum in fact can be imputed to the parent corporation for purposes of personal

jurisdiction if the subsidiary is merely the alter ego of the parent. See e.g., Johnson-Tanner v.

First Cash Financial Services, Inc., 239 F.Supp.2d 34, 38 (D.D.C. 2003).              Forum non

conveniens, like personal jurisdiction, is about what forum is appropriate for litigation. And like

personal jurisdiction, a forum non conveniens dismissal of a parent corporation does not mean

that the alter ego subsidiary can hide behind the inconvenience to the parent.




                                                  6
    Case 1:06-cv-00198-RMU           Document 36        Filed 07/31/2007      Page 7 of 10



   B. Granting the Motion to Amend Would Not Unduly Prejudice the Defendants

       The sole prejudice to which Defendants point is the “additional expense and frustration”

that the Defendants might have to incur from defending a valid cause of action. (See Def. Opp.

Br. at 7). Yet it is unclear how this suit prejudices the Defendants at all. Defendants greatly

overstate the level that they “prevailed” in the SDNY litigation. That case was dismissed on the

basis of forum non conveniens and a voluntary dismissal, respectively.          The forum non

conveniens dismissal, by its very nature, preordains that the defendant will face a new suit in

some other forum. The Defendants should have been prepared for renewed litigation and the

concomitant expenses and frustrations. Yet despite seeing the SDNY litigation end with those

Plaintiffs being told to seek redress in another forum, Defendants are now arguing that they are

surprised and prejudiced by the claim being filed somewhere else. For obvious reasons, there

can be no surprise or prejudice that Plaintiff filed a new claim against Defendants in a more

appropriate forum.

       Assuming, arguendo, that the suit does somehow prejudice the Defendants, that prejudice

does not rise to the level of “undue” prejudice required to deny a motion for leave to amend. See

Dove v. Washington Metropolitan Area Transit Authority, 221 F.R.D. 246, 248, n.3 (D.D.C.

2004) (“Although any amendment designed to strengthen the other side’s case will in some way

harm the opponent, it does not necessarily follow that such amendment must be ‘unduly’

prejudicial.”). Rather, “undue prejudice” has been defined as the “denial of the opportunity to

present facts or evidence which [] would have [been] offered had the amendment[] been timely.”

Id. at 248. The Defendants have been well aware that Plaintiff intended to sue DC Sofitel from

the outset – indeed, Plaintiff physically served the Complaint on the manager of the Sofitel

Lafayette Square – and thus cannot argue they have been denied this opportunity.



                                               7
     Case 1:06-cv-00198-RMU           Document 36         Filed 07/31/2007       Page 8 of 10



       Furthermore, the Defendants misapply the holding of the one District of Columbia case

they cite, Atchison v. District of Columbia, 73 F.3d 418 (D.C. Cir. 1996). In that case, the

Plaintiff waited more than two years to seek leave to amend, did so on the eve of trial, and “at no

time . . . even so much as hinted of his intention to sue” the given party. Id. at 426-27. None of

those facts are present here. To the contrary, Plaintiff’s intent to sue the nominal owner of the

Sofitel Lafayette square was clear from the beginning of the lawsuit; Plaintiff served the Sofitel

Lafayette Square and merely misnamed the entity because the DC tax roles were inaccurate;

Plaintiff then indicated his intent to amend the complaint immediately upon learning of the

mistake. All of this occurred at the beginning stages of this litigation. Moreover, unlike

Atchison, this case is in the earliest stages of litigation. See Dove, 221 F.R.D. at 249 (noting that

the case “is in its early stages given that the parties have yet to appear for an initial scheduling

conference or commence discovery.”).

                                       II.     CONCLUSION

       The Proposed Second Amended Complaint states a valid claim against DC Sofitel and

thus is not futile. An amendment would not be unduly prejudicial to the Defendants because

they have been on notice from the beginning and the amendment would not change their strategy

or choice of counsel. The purpose of Rule 15 is to have cases adjudicated on the merits rather

than mere technicalities. See Nwachukwu v. Karl, 222 F.R.D. 208, 211 (D.D.C. 2004). Granting

leave to amend here would uphold that goal by “facilitat[ing] a decision on the merits.” Dove,

221 F.R.D. at 249. This Court should therefore grant Plaintiff’s Motion for Leave to Amend and

adopt Plaintiff’s Proposed Second Amended Complaint.




                                                 8
    Case 1:06-cv-00198-RMU   Document 36       Filed 07/31/2007   Page 9 of 10



                             Respectfully submitted,

                             PATTON BOGGS, LLP

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Dated: July 31, 2007




                                       9
   Case 1:06-cv-00198-RMU     Document 36      Filed 07/31/2007    Page 10 of 10




                              CERTIFICATE OF SERVICE

I hereby certify on this _31st_ day of July, 2007, Plaintiff’s REPLY MEMORANDUM OF
POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION FOR LEAVE TO AMEND
THE FIRST AMENDED COMPLAINT was filed and served electronically on:

                               Robert B. Wallace, Esq.
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                               Suite 500
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                                     ___________/S/________________
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                                        10
